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FoR THE WESTERN Dis'rRicT oF TENNEssEE r_ v g
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JEREMY BENJAi\/in\i GIESKE, §
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vs. § NO. 04-1339-r/An
ll
GLEN TURNER, er ai., g
ll
Defendants. §
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ORDER ASSESSING FlLING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintit`f]eremyBenj amin Gieske, prison registration number 339 800, an inmate at the
Hardeman County Correctional Facility (HCCF), in Whiteville, Tennessee, filed this
complaint under 42 U.S.C. § 1983. The Clerk of Court shall record the defendants as Glen
Turner, Fredrick Cole, and Quinton White.

l. Assessrnent of Filin,f.r Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28 U.S.C. § 1915(b), all
prisoners bringing a civil action must pay the full filing fee of 3150 required by 28 U.S.C. §
l9l4(a). The in fo_rrn_a_ rm_u@i_'i_s statute, 28 U.S.C. § 1915(a), merely provides the prisoner the
opportunity to make a “downpayment" of a partial filing fee and pay the remainder in

installments

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In this case, plaintiff has properly completed and submitted both an in m p_a_u@i§
affidavit and a prison trust fund account statementl Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that plaintiff cooperate fully with prison officials in carrying out this order. lt is
further ORDERED that the trust fund officer at plaintiffs prison shall calculate a partial initial
filing fee equal to twenty percent of the greater of the average balance in or deposits to the
plaintiffs trust fund account for the six months immediately preceding the completion of the
affidavit When the account contains any funds, the trust fund officer shall collect them and
pay them directly to the Clerk of Court. If the funds in plaintiffs account are insufficient to
pay the full amount of the initial partial filing fee, the prison official is instructed to withdraw
all of the funds in the plaintiffs account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to plaintiffs account the prison official shall
immediately withdraw those funds and forward them to the Clerk of Court, until the initial
partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust fund
officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court monthly
payments equal to twenty percent (2()%) of all deposits credited to plaintiffs account during
the preceding month, but only when the amount in the account exceeds $ 10.00, until the entire
3150.00 filing fee is paid,

Each time that the trust fund officer makes a payment to the Court as required by this

order, he shall print a copy of the prisoner's account statement showing all activity in the

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account since the last payment under this order, and file it with the Clerk along with the
payment
All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 Federal
Building, lll S. Highland, Jackson, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify the
Court immediately of his change of address If still confined he shall provide the officials at
the new prison with a copy of this order.

lf the plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison.

The obligation to pay this filing fee shall continue despite the immediate dismissal of
this case. 28 U.S.C. § l915(e)(2). The Clerk shall not issue process or serve any papers in
this case.

II. Analysis of Plaintiffs Claims

Plaintiff Gieske sues HCCF Warden Glen Turner, Dr. Fredrick Cole, and Tennessee

Department of Correction Commissioner Quinton White. Gieske alleges that he sustained

injuries in an automobile accident prior to his incarceration Gieske was formerly incarcerated

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at the South Central Correctional Facility (SCCF) where a doctor prescribed medication for
heartburn and stomach pain. Plaintiff was transferred to HCCF at an unspecified time. He
alleges that he has signed up for sick call numerous times since September 27, 2004, however,
he has not been able to see defendant Dr. Cole, Gieske alleges that he is in severe pain and
has been denied medical treatment and medication

Gieske states that he filed a grievance and several written complaints but has been
unable to resolve the problem and the doctor will not see him. ln the body of the complaint,
Geiske alleges that he has filed “numerous grievances written a formal letter of complaint to
Warden Glenn Tumer and Mrs. Saxton which is [sic] over the Medical department at the
HCCF, and to the Commissioner’s Office. . . . As well as having plaintiffs family call the
Commissioner’s office and the HCCF to resolve this matter. Gieske did not attach copies of
any grievance

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires a federal court to dismiss
without prejudice whenever a prisoner brings aprison conditions claim without demonstrating
that he has exhausted his administrative remedies Brown v. Toombs, 139 F.3d l 102 (6th Cir.
1998); Lavista v. Beeler, 195 F.3d 254 (6th Cir. 1999) (exhaustion requirement applies to
claim alleging denial of medical care). This requirement places an affirmative burden on
prisoners of pleading particular facts demonstrating the complete exhaustion of claims
Knucl<les El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

In order to comply with the mandates of 42 U.S.C. § 1997e(a),

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a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.

Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002)(prisoner
who fails to adequately allege exhaustion may not amend his complaint to avoid a sua sponte
dismissal); Curry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001)(no abuse of discretion for
district court to dismiss for failure to exhaust when plaintiffs did not submit documents
showing complete exhaustion of their claims or otherwise demonstrate exhaustion).
Furthermore, § 1997(e) requires the prisoner to exhaust his administrative remedies prior to
filing suit and, therefore, he cannot exhaust these remedies during the pendency of the action.
Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999).

This complaint is fully within the scope of § 1997e Plaintiffs allegations are
insufficient to demonstrate that he has properly exhausted his administrative remedies on his
claim that he has been denied medical treatment Furthermore, plaintiffs allegations are
insufficient to demonstrate that he filed any grievance for any action or inaction of defendants
Turner and White. Plaintiff’s allegations are clearly insufficient to satisfy the exhaustion
requirements of § l997e(e).1

T he Sixth Circuit has held that "[a] plaintiff who fails to allege exhaustion of

administrative remedies through 'particularized averments' does not state a claim on which

 

1 An inmate can exhaust administrative remedies in two ways He might file the grievance and then appeal

it through all administrative levels made available by the particular institution or government agency. Alternatively, he
might attempt in good faith to follow the procedure and demonstrate that the institution or agency has completely frustrated
the procedure and rendered further exhaustion efforts futile.

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relief may be granted, and his complaint must be dismissed sua sponte." Baxter, 305 F.3d at

 

489. As plaintiff has not exhausted his administrative remedies, the Court dismisses this
complaint under 42 U.S.C. § l997e(a).
III. Appeal Issues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision i_n f_ori_n_a p_ay_pLis Twenty-eight U.S.C. § l9l5(a)(3) provides that an appeal may
not be taken ig foM MM§ if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedge v. United States, 369 U.S. 438,
445 (1962).

Under Brown v. Toombs an appellate court must dismiss a complaint if a prisoner has
failed to comply with l997e’s exhaustion requirements Accordingly, if a district court
determines that a complaint must be dismissed as unexhausted, plaintiff would not yet be able
to present an issue in good faith on appeal because that appeal would also be subject to
immediate dismissal. Thus, the same considerations that lead the Court to dismiss this case
for failure to exhaust administrative remedies compel the conclusion that an appeal would be
subject to immediate dismissal.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this

matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal i_n forma

 

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The final matter to be addressed is the assessment of a filing fee if plaintiff appeals the

dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held that

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a certification that an appeal is not taken in good faith does not affect an indigent prisoner
plaintiffs ability to take advantage of the installment procedures contained in § l915(b).

McGore v. Wriaglesworth, 114 F.3d 601, 610-ll (6th Cir. 1997). McGore sets out specific

 

procedures for implementing the PLRA. Therefore, the plaintiff is instructed that if he wishes
to take advantage of the installment procedures for paying the appellate filing fee, he must

comply with the procedures set out in McGore and § l915(b).

 

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§ § JAMES D. TODD
UNI STATES DISTRICT JUDGE

UNI…D`ES DISTRICT C URT - wEerR D"'isRiroF TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-CV-01339 was distributed by fax, mail, or direct printing on
.lune 30, 2005 to the parties listed.

 

 

Jeremy Benjamin Gieske

HARDEMAN COUNTY CORRECTIONAL FACILITY
339800

Whiteville, TN 38075

Honorable .l ames Todd
US DISTRICT COURT

